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                                UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                         *       CIVIL ACTION
                                              *
                                              *       NO. 2:20-cv-2679
 VERSUS                                       *
                                              *       JUDGE GREG G. GUIDRY
 ADMINISTRATORS OF THE                        *
 TULANE EDUCATIONAL FUND                      *       MAGISTRATE JUDGE KAREN WELLS ROBY

                  EXPARTE UNOPPOSED MOTION FOR LEAVE TO FILE
                 SECOND SUPPLEMENTAL AND AMENDED COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes plaintiff, Princess Dennar, M.D.

("Dr. Dennar"), who moves this Honorable Court for an Order granting leave to file the attached Second

Supplemental and Amended Complaint for the reasons set forth below.

       On October 1, 2020, Dr. Dennar filed her original Complaint (Rec. Doc. 1) and later filed a First

Supplemental and Amended Complaint on December 11, 2020 (Rec. Doc. 13) based on additional

claims that were ripened after a Right to Sue letter was received. Subsequent to filing these Complaints,

Dr. Dennar asked for and received on April 6, 2021, a Right to Sue Letter with respect to EEOC Charge

No. 461-2021-00959 related to retaliation claims.

       Further events have occurred between October, 2020 and February 2021 which result in

additional claims for Retaliation under Title VII and violations of 42 USC §1981. The purpose of the

Second Supplemental and Amended Complaint is to add these claims and bring to the Court and the

parties' attention the issuance of a second Right to Sue Letter which, to the extent any allegations were

to be argued as not having ripened due to the absence of a Right to Sue Letter or to otherwise not be

properly before the Court in the absence of a Right to Sue Letter, the Right to Sue Letter in Charge No.

461-2021-00959, is attached to the proposed Second Supplemental and Amended Complaint as Exhibit

"A," makes all allegations in the original Complaint ripe and appropriate for consideration by this Court.

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      Counsel for Defendant has been contacted and has no objection to the filing of the Second

Supplemental and Amended Complaint.

      WHEREFORE, Plaintiff, Dr. Princess Dennar, prays that she be granted leave of Court to file

her Second Supplemental and Amended Complaint.


        Dated: May 17, 2021

                                           /s/ MICHAEL R. ALLWEISS________
                                           LOWE, STEIN, HOFFMAN, ALLWEISS
                                           & HAUVER, L.L.P.
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                                           -and-

                                           /s/ JESSICA VASQUEZ
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                                           Attorneys for Princess Dennar, M.D.


                                  CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing pleading has been served on all counsel of

record to this proceeding accepting service electronically via the CMIECF or by hand delivery,

fax, Federal Express, email, or U.S. Mail, postage prepaid and properly addressed to those who

are not, on this _17__ day of May, 2021.


                                            /s/__JESSICA VASQUEZ_________
                                            JESSICA VASQUEZ
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are not, on this __17___ day of May , 2021.


                                          /s/__JESSICA VASQUEZ_________
                                          JESSICA VASQUEZ




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